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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    MARSHALL DIVISION

     LUMINATI NETWORKS LTD.,                           §
                                                       §
          Plaintiff,                                   §
                                                       §
     v.                                                §              Case No. 2:20-cv-00188-JRG-RSP
                                                       §
     NETNUT LTD.,                                      §
                                                       §
          Defendant.                                   §

                                     DOCKET CONTROL ORDER

          Before the Court is the Joint Motion for Entry of Agreed Docket Control Order filed by

 Plaintiff Luminati Networks Ltd. and NetNut Ltd.. Dkt. No. 38. The Court GRANTS the Motion.

 In accordance with the granted Motion, it is hereby ORDERED that the following schedule of

 deadlines is in effect until further order of this Court:

           DATE                                                   EVENT

     November 1, 2021        *Jury Selection – 9:00 a.m. in Marshall, Texas before Judge Rodney
                             Gilstrap

     October 4, 2021         *If a juror questionnaire is to be used, an editable (in Microsoft Word
                             format) questionnaire shall be jointly submitted to the Deputy Clerk in
                             Charge by this date. 1

     September 27, 2021      *Pretrial Conference – 9:00 a.m. in Marshall, Texas before Judge Roy
                             Payne

     September 20, 2021      *Notify Court of Agreements Reached During Meet and Confer

                             The parties are ordered to meet and confer on any outstanding
                             objections or motions in limine. The parties shall advise the Court of
                             any agreements reached no later than 1:00 p.m. three (3) business days
                             before the pretrial conference.


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  The Parties are referred to the Court’s Standing Order Regarding Use of Juror Questionnaires in Advance of Voir
 Dire.


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     September 20, 2021       *File Joint Pretrial Order, Joint Proposed Jury Instructions, Joint
                              Proposed Verdict Form, Responses to Motions in Limine, Updated
                              Exhibit Lists, Updated Witness Lists, and Updated Deposition
                              Designations

     September 13, 2021       *File Notice of Request for Daily Transcript or Real Time Reporting.

                              If a daily transcript or real time reporting of court proceedings is
                              requested for trial, the party or parties making said request shall file a
                              notice with the Court and e-mail the Court Reporter, Shelly Holmes, at
                              shelly_holmes@txed.uscourts.gov.

     September 7, 2021        File Motions in Limine

                              The parties shall limit their motions in limine to issues that if
                              improperly introduced at trial would be so prejudicial that the Court
                              could not alleviate the prejudice by giving appropriate instructions to
                              the jury.

     September 7, 2021        Serve Objections to Rebuttal Pretrial Disclosures

     August 30, 2021          Serve Objections to Pretrial Disclosures; and Serve Rebuttal Pretrial
                              Disclosures

     August 16, 2021          Serve Pretrial Disclosures (Witness List, Deposition Designations, and
                              Exhibit List) by the Party with the Burden of Proof

     August 9, 2021           *Response to Dispositive Motions (including Daubert Motions).

                              Responses to dispositive motions that were filed prior to the dispositive
                              motion deadline, including Daubert Motions, shall be due in accordance
                              with Local Rule CV-7(e), not to exceed the deadline as set forth in this
                              Docket Control Order. 2 Motions for Summary Judgment shall comply
                              with Local Rule CV-56.

     July 26, 2021            *File Motions to Strike Expert Testimony (including Daubert Motions)

                              No motion to strike expert testimony (including a Daubert motion) may
                              be filed after this date without leave of the Court


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   The parties are directed to Local Rule CV-7(d), which provides in part that “[a] party’s failure to oppose a motion
 in the manner prescribed herein creates a presumption that the party does not controvert the facts set out by movant
 and has no evidence to offer in opposition to the motion.” If the deadline under Local Rule CV 7(e) exceeds the
 deadline for Response to Dispositive Motions, the deadline for Response to Dispositive Motions controls.

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  July 26, 2021       *File Dispositive Motions

                      No dispositive motion may be filed after this date without leave of the
                      Court.

                      Motions shall comply with Local Rule CV-56 and Local Rule CV-7.
                      Motions to extend page limits will only be granted in exceptional
                      circumstances. Exceptional circumstances require more than agreement
                      among the parties.

  July 19, 2021       Deadline to Complete Expert Discovery

  July 9, 2021        Serve Disclosures for Rebuttal Expert Witnesses

  June 18, 2021       Serve Disclosures for Expert Witnesses by the Party with the Burden of
                      Proof

  June 14, 2021       Deadline to Complete Fact Discovery and File Motions to Compel
                      Discovery

  May 12, 2021        Comply with P.R. 3-7 (Opinion of Counsel Defenses)

  April 21, 2021      *Claim Construction Hearing – 9:00 a.m. in Marshall, Texas before
                      Judge Roy Payne

  April 7, 2021       *Comply with P.R. 4-5(d) (Joint Claim Construction Chart)

  March 31, 2021      *Comply with P.R. 4-5(c) (Reply Claim Construction Brief)

  March 24, 2021      Comply with P.R. 4-5(b) (Responsive Claim Construction Brief)

  March 10, 2021      Comply with P.R. 4-5(a) (Opening Claim Construction Brief) and
                      Submit Technical Tutorials (if any)

                      Good cause must be shown to submit technical tutorials after the
                      deadline to comply with P.R. 4-5(a).

  March 10, 2021      Deadline to Substantially Complete Document Production and
                      Exchange Privilege Logs

                      Counsel are expected to make good faith efforts to produce all required
                      documents as soon as they are available and not wait until the
                      substantial completion deadline.

  February 24, 2021   Comply with P.R. 4-4 (Deadline to Complete Claim Construction
                      Discovery)
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     February 17, 2021     File Response to Amended Pleadings

     February 3, 2021      *File Amended Pleadings

                           It is not necessary to seek leave of Court to amend pleadings prior to
                           this deadline unless the amendment seeks to assert additional patents.

     January 27, 2021      Comply with P.R. 4-3 (Joint Claim Construction Statement)

     January 6, 2021       Comply with P.R. 4-2 (Exchange Preliminary Claim Constructions)

     December 16, 2020     Comply with P.R. 4-1 (Exchange Proposed Claim Terms)

     November 4, 2020      Comply with Standing Order Regarding Subject-Matter Eligibility
                           Contentions 3

     November 4, 2020      Comply with P.R. 3-3 & 3-4 (Invalidity Contentions)

     October 14, 2020      *File Proposed Protective Order and Comply with Paragraphs 1 & 3 of
                           the Discovery Order (Initial and Additional Disclosures)

                           The Proposed Protective Order shall be filed as a separate motion with
                           the caption indicating whether or not the proposed order is opposed in
                           any part.

     October 7, 2020       *File Proposed Docket Control Order and Proposed Discovery Order

                           The Proposed Docket Control Order and Proposed Discovery Order
                           shall be filed as separate motions with the caption indicating whether or
                           not the proposed order is opposed in any part.

     September 30, 2020    Join Additional Parties

     September 9, 2020     Comply with P.R. 3-1 & 3-2 (Infringement Contentions)
 (*) indicates a deadline that cannot be changed without showing good cause. Good cause is
 not shown merely by indicating that the parties agree that the deadline should be changed.

                                ADDITIONAL REQUIREMENTS

        Mediation: While certain cases may benefit from mediation, such may not be
 appropriate for every case. The Court finds that the Parties are best suited to evaluate whether
 mediation will benefit the case after the issuance of the Court’s claim construction order.
 Accordingly, the Court ORDERS the Parties to file a Joint Notice indicating whether the case

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  http://www.txed.uscourts.gov/sites/default/files/judgeFiles/EDTX%20Standing%20Order%20Re%20Subject%20
 Matter%20Eligibility%20Contentions%20.pdf [https://perma.cc/RQN2- YU5P]
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 should be referred for mediation within fourteen days of the issuance of the Court’s claim
 construction order. As a part of such Joint Notice, the Parties should indicate whether they
 have a mutually agreeable mediator for the Court to consider. If the Parties disagree about
 whether mediation is appropriate, the Parties should set forth a brief statement of their
 competing positions in the Joint Notice.

         Summary Judgment Motions, Motions to Strike Expert Testimony, and Daubert
 Motions: For each motion, the moving party shall provide the Court with two (2) hard copies of
 the completed briefing (opening motion, response, reply, and if applicable, sur-reply), excluding
 exhibits, in D-three-ring binders, appropriately tabbed. All documents shall be single-sided and
 must include the CM/ECF header. These copies shall be delivered to the Court within three (3)
 business days after briefing has completed. For expert-related motions, complete digital copies
 of the relevant expert report(s) and accompanying exhibits shall be submitted on a single flash
 drive to the Court. Complete digital copies of the expert report(s) shall be delivered to the Court
 no later than the dispositive motion deadline.

         Indefiniteness: In lieu of early motions for summary judgment, the parties are directed
 to include any arguments related to the issue of indefiniteness in their Markman briefing, subject
 to the local rules’ normal page limits.

         Motions for Continuance: The following excuses will not warrant a continuance nor
 justify a failure to comply with the discovery deadline:

 (a)    The fact that there are motions for summary judgment or motions to dismiss pending;

 (b)     The fact that one or more of the attorneys is set for trial in another court on the same day,
 unless the other setting was made prior to the date of this order or was made as a special
 provision for the parties in the other case;

 (c)   The failure to complete discovery prior to trial, unless the parties can demonstrate that it
 was impossible to complete discovery despite their good faith effort to do so.

         Amendments to the Docket Control Order (“DCO”): Any motion to alter any date on
 the DCO shall take the form of a motion to amend the DCO. The motion to amend the DCO shall
 include a proposed order that lists all of the remaining dates in one column (as above) and the
 proposed changes to each date in an additional adjacent column (if there is no change for a date
 the proposed date column should remain blank or indicate that it is unchanged). In other words,
 the DCO in the proposed order should be complete such that one can clearly see all the
 remaining deadlines and the changes, if any, to those deadlines, rather than needing to also refer
 to an earlier version of the DCO.

        Proposed DCO: The Parties’ Proposed DCO should also follow the format described
 above under “Amendments to the Docket Control Order (‘DCO’).”


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         Joint Pretrial Order: In the contentions of the Parties included in the Joint Pretrial
 Order, the Plaintiff shall specify all allegedly infringed claims that will be asserted at trial. The
 Plaintiff shall also specify the nature of each theory of infringement, including under which
 subsections of 35 U.S.C. § 271 it alleges infringement, and whether the Plaintiff alleges divided
 infringement or infringement under the doctrine of equivalents. Each Defendant shall indicate
 the nature of each theory of invalidity, including invalidity for anticipation, obviousness, subject-
 matter eligibility, written description, enablement, or any other basis for invalidity. The
 Defendant shall also specify each prior art reference or combination of references upon which
 the Defendant shall rely at trial, with respect to each theory of invalidity. The contentions of the
 Parties may not be amended, supplemented, or dropped without leave of the Court based upon a
 showing of good cause.
          SIGNED this 3rd day of January, 2012.
        SIGNED this 11th day of October, 2020.




                                                       ____________________________________
                                                       ROY S. PAYNE
                                                       UNITED STATES MAGISTRATE JUDGE




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